Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 1 of 8 PageID #: 1




                                                     1:19cv171-SA-DAS
Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 2 of 8 PageID #: 2
Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 3 of 8 PageID #: 3
Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 4 of 8 PageID #: 4
Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 5 of 8 PageID #: 5
Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 6 of 8 PageID #: 6
Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 7 of 8 PageID #: 7
Case: 1:19-cv-00171-SA-DAS Doc #: 1 Filed: 09/25/19 8 of 8 PageID #: 8
